Case 1:13-cr-00409-ADA-BAM Document 357-1 Filed 03/01/22 Page 1 of 7




          EXHIBIT

                               1
Case 1:13-cr-00409-ADA-BAM Document 357-1 Filed 03/01/22 Page 2 of 7
Case 1:13-cr-00409-ADA-BAM Document 357-1 Filed 03/01/22 Page 3 of 7
Case 1:13-cr-00409-ADA-BAM Document 357-1 Filed 03/01/22 Page 4 of 7
Case 1:13-cr-00409-ADA-BAM Document 357-1 Filed 03/01/22 Page 5 of 7
Case 1:13-cr-00409-ADA-BAM Document 357-1 Filed 03/01/22 Page 6 of 7
Case 1:13-cr-00409-ADA-BAM Document 357-1 Filed 03/01/22 Page 7 of 7
